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  8                                 UNITED STATES DISTRICT COURT

  9                              SOUTHERN DISTRICT OF CALIFORNIA

 10     UNITED STATES OF AMERICA, )                     Case No. 12cr3137-MMA-1
                                   )
 11                     Plaintiff, )
                                   )                    PRELIMINARY ORDER OF
 12          v.                    )                    CRIMINAL FORFEITURE
                                   )
 13     GERARDO CHAVEZ (01),       )
                                   )
 14                     Defendant. )
                                   )
 15

 16             WHEREAS, in the Indictment and Bill of Particulars in the above-captioned case, the

 17     United States sought forfeiture of all right, title, and interest in specific properties of the above-

 18     named Defendant GERARDO CHAVEZ (1) ("Defendant"), as properties constituting or

 19     derived from proceeds the defendant obtained, directly or indirectly, as a result of the violations

 20     set forth in Counts 1, 2, and 3, to which he has entered guilty pleas, and subject to forfeiture to

 21     the United States pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

 22     United States Code, Section 2461(c); and as properties involved in the offense of money

 23     laundering, as set forth in Count 57, to which the Defendant pled guilty, and subject to

 24     forfeiture to the United States pursuant to Title 18, United States Code, Section 982(a)(1), as

 25     charged in the Indictment; and

 26             WHEREAS, on or about November 15, 2012, the Defendant, pled guilty before

 27     Magistrate Judge Karen S. Crawford to Counts 1, 2, 3, and 57 of the Indictment, and on

 28     November 29, 2012, this Court accepted the guilty plea of Defendant, which plea included
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  1     consent to the criminal forfeiture allegations pursuant to Title 18 and Title 28 as set forth in the

  2     Indictment; and

  3            WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture

  4     addendum, the United States has established the requisite nexus between the forfeited

  5     properties and the offense; and

  6            WHEREAS, by virtue of said guilty plea, the United States is now entitled to

  7     possession of said properties, pursuant to 18 U.S.C. § 981 and 982, 28 U.S.C. § 2461( c) and

  8     Rule 32.2(b) of the Federal Rules of Criminal Procedure; and

  9            WHEREAS, pursuant to Rule 32.2(b)(3), the United States having requested the

 10     authority to take custody of the following properties which were found forfeitable by the Court,

 11     namely:

 12            (1)     The real property located at 401 Industrial Road, Tecate, CA 91980, and
                       all appurtenances affixed thereto, more particularly described as:
 13
                                  ASSESSORS PARCEL NO. 652-170-33-00
 14
               That portion of Homestead Entry Survey No. 81, in the County of San Diego,
 15            State of California, according to Official Plat thereof embracing a portion of
               Section 25, Township 18 South, Range 3 East, San Bernardino Meridian, in the
 16            County of San Diego, State of California, according to Official Plat thereof
               described as follows:
 17
               Beginning at the point of intersection of the Southerly line of Lot 3, with a line
 18            which is parallel with and 40 feet Westerly measured at right angles from the
               Westerly line of Lot 2, as said Lots 2 and 3 are shown on Wilmar's La Fronters
 19            Estates, according to Map thereof No. 4771, filed in the office of the County
               Recorder of San Diego County; thence along the boundary line of said Lot 3,
 20            South 84 degrees 15' West 159.42 feet; thence North 5 degrees 45' West 200
               feet; thence South 84 degrees 15' West 250 feet' thence South 0 degrees 01'
 21            West 425 feet to a point in a line which is parallel with and 40 feet Northerly
               measured at right angles from the South line of Homestead Entry Survey No. 81,
 22            according to Official Plat thereof; thence along said parallel line North 84
               degrees 26' 25" East 450 feet; more or less to said line which is parallel with and
 23            40 feet Westerly measured at right angles from the Westerly line of Lot 2;
               thence North 5 degrees 45' West along said parallel line to the Point of
 24            Beginning;

 25
               (2)     Individual Customs Broker License Number 20014;
 26
               (3)     Customhouse Broker San Diego District Permit Number 2500-009;
 27
               (4)     Customhouse National Permit Number 10-066;
 28
               (5)     the Mossberg shotgun with serial number TD96093; and

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  1            (6)     all money and property held in Rabobank Account No. ****4624; and

  2            WHEREAS, the United States, having submitted the Order herein to the Defendant

  3     through his attorney of record, to review, and no objections having been received;

  4            Accordingly, IT IS HEREBY ORDERED THAT:

  5            1.      Based upon the guilty plea of the Defendant, the United States is hereby

  6     authorized to take custody and control of the following assets, and all right, title, and interest of

  7     Defendant GERARDO CHAVEZ (1) in the following properties are hereby forfeited to the

  8     United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

  9     § 853(n):

 10            (1)     The real property located at 401 Industrial Road, Tecate, CA 91980, and
                       all appurtenances affixed thereto, more particularly described as:
 11
                                  ASSESSORS PARCEL NO. 652-170-33-00
 12
               That portion of Homestead Entry Survey No. 81, in the County of San Diego,
 13            State of California, according to Official Plat thereof embracing a portion of
               Section 25, Township 18 South, Range 3 East, San Bernardino Meridian, in the
 14            County of San Diego, State of California, according to Official Plat thereof
               described as follows:
 15
               Beginning at the point of intersection of the Southerly line of Lot 3, with a line
 16            which is parallel with and 40 feet Westerly measured at right angles from the
               Westerly line of Lot 2, as said Lots 2 and 3 are shown on Wilmar's La Fronters
 17            Estates, according to Map thereof No. 4771, filed in the office of the County
               Recorder of San Diego County; thence along the boundary line of said Lot 3,
 18            South 84 degrees 15' West 159.42 feet; thence North 5 degrees 45' West 200
               feet; thence South 84 degrees 15' West 250 feet' thence South 0 degrees 01'
 19            West 425 feet to a point in a line which is parallel with and 40 feet Northerly
               measured at right angles from the South line of Homestead Entry Survey No. 81,
 20            according to Official Plat thereof; thence along said parallel line North 84
               degrees 26' 25" East 450 feet; more or less to said line which is parallel with and
 21            40 feet Westerly measured at right angles from the Westerly line of Lot 2;
               thence North 5 degrees 45' West along said parallel line to the Point of
 22            Beginning;

 23
               (2)     Individual Customs Broker License Number 20014;
 24
               (3)     Customhouse Broker San Diego District Permit Number 2500-009;
 25
               (4)     Customhouse National Permit Number 10-066;
 26
               (5)     the Mossberg shotgun with serial number TD96093; and
 27
               (6)     all money and property held in Rabobank Account No. ****4624.
 28


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  1             2.      The aforementioned forfeited assets are to be monitored or held by Homeland

  2     Security Investigations in its secure custody and control.

  3             3.      Pursuant to Rule 32.2(b)and (c), the United States is hereby authorized to begin

  4     proceedings consistent with any statutory requirements pertaining to ancillary hearings and

  5     rights of third parties.

  6             4.      Pursuant to the Attorney General’s authority under Section 853(n)(1) of Title

  7     21, United States Code, Rule 32.2(b)(3), Fed. R. Crim. P., and Rule G(4) of the Supplemental

  8     Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, the United States

  9     forthwith shall publish for thirty (30) consecutive days on the Government’s forfeiture website,

 10     www.forfeiture.gov, notice of this Order, notice of the United States’ intent to dispose of the

 11     properties in such manner as the Attorney General may direct, and notice that any person, other

 12     than the Defendant, having or claiming a legal interest in the above-listed forfeited properties

 13     must file a petition with the Court within thirty (30) days of the final publication of notice or of

 14     receipt of actual notice, whichever is earlier.

 15             5.      This notice shall state that the petition shall be for a hearing to adjudicate the

 16     validity of the petitioner's alleged interest in the properties, shall be signed by the petitioner

 17     under penalty of perjury, and shall set forth the nature and extent of the petitioner's right, title,

 18     or interest in the forfeited properties and any additional facts supporting the petitioner's claim

 19     and the relief sought.

 20             6.      The United States may also, to the extent practicable, provide direct written

 21     notice to any person known to have alleged an interest in the properties that are the subject of

 22     the Preliminary Order of Criminal Forfeiture.

 23             7.      Upon adjudication of all third-party interests, this Court will enter an Amended

 24     Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

 25             IT IS SO ORDERED.

 26     DATED: January 3, 2013

 27
                                                      Hon. Michael M. Anello
 28                                                   United States District Judge


                                                          4                                 12cr3137
